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 2
     Sacramento, CA 95814
 3   (916) 443-8055
 4   Attorney for Defendant
 5   ANTONIO SILVA
 6                              IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                      Case No.: 12-cr-00370 MCE
10
                         Plaintiff,                 STIPULATION AND ORDER
11
                                                    VACATING DATE, CONTINUING
12             v.                                   CASE, AND EXCLUDING TIME
13   ANTONIO SILVA, et al.,                         DATE: December 6, 2012
14                                                  TIME: 9:00 a.m.
                                                    JUDGE: Hon. Morrison C. England, Jr.
15                       Defendants.
16
17             IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   Olusere Olowoyeye, Counsel for Plaintiff, and Attorneys Clemente M. Jiménez, Counsel
19   for Defendant ANTONIO SILVA, Jeffrey Staniels, Counsel for Defendant YONI SOSA,
20   and Dina Santos, Counsel for Defendant Jose Lopez, that the status conference scheduled
21   for December 6, 2012, at 9:00 a.m., be vacated and the matter continued to this Court’s
22   criminal calendar on January 10, 2013, at 9:00 a.m. for further status conference. The
23   government has indicated that there remains discovery outstanding, which counsel will
24   require additional time to review.
25             IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act, 18
26   U.S.C. Section 3161 et seq. be tolled pursuant to Section 3161(h)(7)(A) and (B)(iv),
27   (Local code T-4), and that the ends of justice served in granting the continuance and
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 1   allowing the defendants further time to prepare outweigh the best interests of the public
 2   and the defendant to a speedy trial.
 3
 4   DATED:                     December 5, 2012       /S/   Olusere Olowoyeye__________
                                                       OLUSERE OLOWOYEYE
 5
                                                       Attorney for Plaintiff
 6
 7
                                                       /S/   Clemente M. Jiménez________
 8                                                     CLEMENTE M. JIMÉNEZ
                                                       Attorney for Antonio Silva
 9
10                                                     /S/   Jeffrey Staniels_____________
                                                       JEFFREY STANIELS
11                                                     Attorney for Yoni Sosa
12
                                                       /S/   Dina Santos________________
13                                                     DINA SANTOS
14                                                     Attorney for Jose Lopez
15
16
                                                      ORDER
17
18   IT IS SO ORDERED, that the status conference in the above-entitled matter, scheduled

19   for December 6 2012, at 9:00 a.m., be vacated and the matter continued to January 10,

20   2013, at 9:00 a.m. for further status conference.

21
     Dated: December 6, 2012
22
                                                    __________________________________
23                                                  MORRISON C. ENGLAND, JR
24   DEAC_Signatu re-END:
                                                    UNITED STATES DISTRICT JUDGE

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